     Case 2:12-cr-00322-JAM Document 46 Filed 11/21/12 Page 1 of 2


 1   LAW OFFICES OF SCOTT L. TEDMON
     A Professional Corporation
 2   SCOTT L. TEDMON, CA. BAR # 96171
     980 Ninth Street, 16th Floor
 3   Sacramento, California 95814
     Telephone: (916) 449-9985
 4   Facsimile: (916) 446-7104
     Email: tedmonlaw@comcast.net
 5
     Attorney for Defendant
 6   ALEKSANDR MIKHAYLOV
 7
 8                          IN THE UNITED STATES DISTRICT COURT
 9                        FOR THE EASTERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,           )
11                                       )                  Case No. 2:12-CR-0322 MCE
                       Plaintiff,        )
12                                       )                  WAIVER OF DEFENDANT
                 v.                      )                  ALEKSANDR MIKHAYLOV’S
13                                       )                  PERSONAL PRESENCE
     ALEKSANDR LASTOVSKIY, et al.,       )
14                                       )
                       Defendants.       )
15   ____________________________________)
16
17          Defendant, Aleksandr Mikhaylov, hereby waives the right to be in person in open court
18   upon the hearing of any motion or when any other action is taken by the Court before or after
19   trial, except upon arraignment, plea, jury trial, and imposition of sentence. Defendant
20   Mikhaylov hereby requests the Court to proceed during every absence of the defendant which
21   the Court may permit pursuant to this waiver; agrees that defendant’s interest will be deemed
22   represented at all times by the presence of defendant’s attorney, the same as if defendant were
23   personally present; and further agrees to be present in person in court ready for trial any day and
24   hour the Court may fix in defendant’s absence.
25          Defendant Mikhaylov further acknowledges that defendant has been informed of
26   defendant’s rights under Title 18 U.S.C. Section 3161-3174 (Speedy Trial Act), and authorizes
27   defendant’s attorney to set times and delays under that Act without defendant being present.
28

                                                  - 1 -
     Case 2:12-cr-00322-JAM Document 46 Filed 11/21/12 Page 2 of 2


 1   DATED: October 18, 2012      I consent to the above waiver of presence.
 2                                /s/ Aleksandr Mikhaylov
                                  ALEKSANDR MIKHAYLOV
 3                                Defendant
 4
     DATED: October 18, 2012      I agree to the above waiver of presence.
 5
                                  /s/ Scott L. Tedmon
 6                                SCOTT L. TEDMON
                                  Attorney for Defendant Aleksandr Mikhaylov
 7
 8
 9
10                                    ORDER
11   IT IS SO ORDERED.
12
     Dated: November 21, 2012
13
                                       ________________________________
14                                     MORRISON C. ENGLAND, JR.
                                       UNITED STATES DISTRICT JUDGE
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                       - 2 -
